         Case 3:19-cv-00117-SDD-SDJ        Document 27     09/29/21 Page 1 of 2




                               UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF LOUISIANA


PAPPILLION
                                                                     CIVIL ACTION
VERSUS
                                                                     19-117-SDD-SDJ
LOUISIANA DEPARTMENT
OF PUBLIC SAFETY AND
CORRECTIONS, ET AL.

                                         RULING

        The Court has carefully considered the Motions1, the record, the law applicable to

this matter, and the Report and Recommendations2 of the Magistrate Judge Scott D.

Johnson, dated September 3, 2021, to which a response entitled “Limited Traversal”3 was

filed and also reviewed.

        The Court hereby adopts the Magistrate Judge’s recommendations.

        ACCORDINGLY,

        IT IS HEREBY ORDERED that the Defendants' Motion to Dismiss4 be GRANTED

IN PART AND DENIED IN PART, and Plaintiff's res judicata claims for injunctive and

declaratory relief, claims made regarding inadequate medical treatment that are

purported to be brought under the ADA/RA, claims for monetary damages against

Lavespere, Morrison, and Singh in their official capacities, and Plaintiff's claims for

monetary relief against the Louisiana Department of Public Safety for constitutional

violations brought pursuant to 42 U.S.C. § 1983 are hereby DISMISSED WITH

PREJUDICE.


1
  Rec. Docs. 13, 18, and 20.
2
  Rec. Doc. 25.
3
  Rec. Doc. 26.
4
  Rec. Doc. 13.
       Case 3:19-cv-00117-SDD-SDJ     Document 27       09/29/21 Page 2 of 2




      The   Magistrate   Judge   recommended     that     the   Court   STAY    and

ADMINISTRATIVELY CLOSE this matter. The Court declines to do this sua sponte.

      Signed in Baton Rouge, Louisiana on September 29, 2021.




                                   S
                                 CHIEF JUDGE SHELLY D. DICK
                                 UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF LOUISIANA
